Case 1:23-cv-01599-ABJ-ZMF Document 301 Filed 05/29/25 Pagelof4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

v. No. 1:23-cv-01599-ABJ-ZMF
BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

Defendants.

Nee ee eee eee

JOINT STIPULATION TO DISMISS AND RELEASES

Plaintiff Securities and Exchange Commission (“Commission”) and Defendants Binance
Holdings Limited, BAM Trading Services Inc., BAM Management US Holdings Inc., and
Changpeng Zhao (collectively, the “Parties”) respectfully submit this Joint Stipulation:

WHEREAS, the Commission filed its Complaint in this civil enforcement action (the
Litigation”) on June 5, 2023 against Defendants Zhao, Binance Holdings Limited, BAM
Trading Services Inc., and BAM Management US Holdings Inc. (the “Defendants”). See Dkt.
No. I.

WHEREAS, the Commission filed an Amended Complaint against Defendants on
October 16, 2024. See Dkt. No. 282.

WHEREAS, on January 21, 2025, the Commission’s Acting Chairman Mark T. Uyeda
launched a crypto task force dedicated to helping the Commission develop a regulatory

framework for crypto assets.

Case 1:23-cv-01599-ABJ-ZMF Document 301 Filed 05/29/25 Page2of4

WHEREAS, on February 13, 2025, the Court granted the Parties’ Joint Motion for a
Stay, which the Parties sought noting that the work of the crypto task force might impact and
facilitate the potential resolution of this Litigation, and ordered the Parties to file a status report
by April 14, 2025. See Dkt. No. 296; Feb. 13, 2025 Minute Order. The Parties filed a status
report on April 11, 2025 and moved the Court to continue the stay, and the Court granted that
motion on April 14, 2025, and ordered the Parties to file another status report by June 16, 2025.
See Dkt. No. 298; Apr. 14, 2025 Minute Order.

WHEREAS, in light of the foregoing, and in the exercise of its discretion and as a policy
matter, the Commission believes the dismissal of this Litigation is appropriate.

WHEREAS, the Commission’s decision to seek dismissal of this Litigation does not
necessarily reflect the Commission’s position in any other litigation or proceeding.

NOW, THEREFORE,

1. Pursuant to Fed. R. Civ. P. 41(a)(I)(A)(ii), the Parties stipulate that this Litigation
be dismissed with prejudice as to the conduct alleged in the Amended Complaint, and without
costs or fees to any party.

2 Defendants, for themselves and any of their agents, attorneys, employees, or
representatives, hereby waive and release:

a. Any and allrights under the Equal Access to Justice Act, the Small Business
Regulatory Enforcement Fairness Act of 1996, or any other provision of law
to seek from the United States, or any agency, or any official of the United
States acting in his or her official capacity, directly or indirectly,
reimbursement of attorney’s fees or other fees, expenses, or costs expended by

Defendants that in any way relate to the Litigation, including but not limited
to investigative steps taken prior to commencing the Litigation.

b. Any and allclaims, demands, rights, and causes of action of every kind and
nature, asserted or unasserted, against the SEC and its present and former
officers or employees that arise from or in any way relate to the Litigation,
including but not limited to investigative steps taken prior to commencing the
Litigation.

Case 1:23-cv-01599-ABJ-ZMF

Document 301

Filed 05/29/25 Page 3of4

3. Each of the undersigned represents that they have the authority to execute this

Joint Stipulation on behalf of the party so indicated.

STIPULATED AND AGREED:

Dated: (Ly. AT , 2025
// {

FOR THE PLAINTIFF:

=>—-.__. =——
Samuel J. Waldon —
Acting Director

Enforcement Division

Jason Burt

Deputy Director

Specialized Units, Enforcement Division
SECURITIES AND EXCHANGE
COMMISSION

100 F Street, NE

Washington, DC 20549-9040

Matthew Scarlato (D.. Bar No. 484124)
JenniferL.Earer-(D-C. Bar No. 1013915)
David A. Nasse (D.C. Bar No. 1002567)
SECURITIES AND EXCHANGE
COMMISSION

100 F Street, NE

Washington, DC 20549-9040

(202) 551-3749 (Scarlato)
scarlatom@sec.gov

Elisa S. Solomon

J. Emmett Murphy

SECURITIES AND EXCHANGE
COMMISSION

100 Pearl Street

New York, NY 10004

Rachel Yeates

SECURITIES AND EXCHANGE
COMMISSION

1961 Stout Street, Suite 1700
Denver, CO 80294

Attorneys for Plaintiff Securities and
Exchange Commission

Case 1:23-cv-01599-ABJ-ZMF

FOR THE DEFENDANTS:

of
“SD > W Ufn—
Daniel W. Nelson (D.C. Bar #433415)
Jason J. Mendro (D.C. Bar #482040)
M. Kendall Day (pro hac vice)
Amy Feagles (pro hac vice)
Matt Gregory (D.C. Bar #1033813)
GIBSON, DUNN & CRUTCHER LLP
1700 M Street, N.W.
Washington, D.C. 20036-4504

(202) 887-3687 (Nelson)
DNelson@gibsondunn.com

Attorneys for Defendant Binance
Holdings Limited

Avi Perry

William A. Burck

QUINN EMANUEL URQUHART &
SULLIVAN, LLP

1300 I Street, NW, Suite 900
Washington, DC 2005

Tel.: (202) 538-8330 (Perry)
aviperry@quinnemanuel.com
williamburck@quinnemanuel.com

Emily Kapur (pro hac vice)

QUINN EMANUEL URQUHART &
SULLIVAN, LLP

555 Twin Dolphin Dr., 5'* Floor
Redwood Shores, California 94065
(650) 801-5122
emilykapur@quinnemanuel.com

Attorneys for Defendant Changpeng Zhao

Document 301 ‘Filed 05/29/25 Page4of4

CY tk "
Daniel J. Davis (D.C. Bar #484717) (pro hac
vice)
KATTEN MUCHIN ROSENMAN LLP
1919 Pennsylvania Ave NW
Washington DC 20006
daniel.davis@katten.com

Christian T. Kemnitz (pro hac vice)

Levi Giovanetto (D.C. Bar #1001160) (pro hac
vice)

David Luger (pro hac vice)

KATTEN MUCHIN ROSENMAN LLP

525 W. Monroe Street

Chicago, IL 60661
christian.kemnitz@katten.com
levi.giovanetto@katten.com
david.luger@katten.com

George S. Canellos (pro hac vice)
Matthew Laroche (pro hac vice)
MILBANK LLP

55 Hudson Yards

New York, NY 10001-2163
(212) 530-5792
gcanellos@milbank.com
mlaroche@milbank.com

Matthew Beville (pro hac vice)
WILMER CUTLER PICKERING HALE
AND DORR LLP

2100 Pennsylvania Ave., NW
Washington, DC 20037

(202) 663-6000

matthew. beville@wilmerhale.com

Attorneys for Defendants BAM Trading Services
Inc. and BAM Management Holdings US Inc

